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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                    Plaintiffs,

        v.                                                    Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                    Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s February 14, 2022, Minute Order, Plaintiffs and Defendants, by

and through undersigned counsel, hereby submit this joint status report.

       1.      On March 18, 2022, Defendants filed the Certified Index of Administrative Record

(ECF No. 132) and produced the record of nearly 27,000 pages to Plaintiffs’ counsel.

       2.      In its Minute Order, the Court directed the parties to provide a recommendation

regarding further proceedings by March 25, 2022. The parties have met and conferred, but

respectfully request that the Court afford them additional time to confer and to provide

recommendations regarding next steps in this litigation.

       3.      In accordance with the Public Health Assessment and Order Suspending the Right

to Introduce Certain Persons from Countries Where a Quarantinable Communicable Disease

Exists, dated August 2, 2022, the Centers for Disease Control and Prevention (“CDC”) has

conducted a reassessment at least every 60 days to determine whether the Order remains necessary

to protect public health. The next reassessment will conclude on or around Wednesday, March 30,

2022, and CDC may announce the result of the reassessment shortly thereafter, including
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potentially modifying or terminating the existing Title 42 order or issuing a new order. The parties

agree that the results of this reassessment may influence the parties’ respective recommendations

for next steps in this litigation.

        4.      Accordingly, the parties respectfully request leave to file a joint status report setting

forth their recommendations regarding further proceedings on or before Thursday, April 7, 2022.



Dated: March 25, 2022                         Respectfully submitted,

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                                              United States Attorney

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